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                                                  7 Attorneys for CENTEX HOMES

                                                  8
                                                                                UNITED STATES DISTRICT COURT
                                                  9
                                                                                      DISTRICT OF NEVADA
                                                 10

                                                 11
PAYNE & FEARS LLP




                                                      CENTEX HOMES,                            Case No. 2:17-cv-02407-JAD-VCF
                                                 12
               6385 S. RAINBOW BLVD, SUITE 220




                                                                  Plaintiff,
                  LAS VEGAS, NEVADA 89118




                                                 13
                      ATTORNEYS AT LAW




                                                           v.                                  STIPULATION FOR DISMISSAL
                         (702) 851-0300




                                                 14                                            WITH PREJUDICE OF DEFENDANT
                                                    ST. PAUL FIRE AND MARINE                   LEXINGTON INSURANCE COMPANY
                                                 15 INSURANCE COMPANY, a Connecticut
                                                    corporation; EVEREST NATIONAL              AND [PROPOSED]
                                                                                                    ORDER     ORDER
                                                 16 INSURANCE COMPANY, a Delaware
                                                    corporation; INTERSTATE FIRE &
                                                 17 CASUALTY COMPANY; an Illinois                          ECF No. 285
                                                    corporation; LEXINGTON INSURANCE
                                                 18 COMPANY, a Delaware corporation;
                                                    FEDERAL INSURANCE COMPANY; an
                                                 19 Indiana corporation; and ADMIRAL
                                                    INSURANCE COMPANY, a New Jersey
                                                 20 Corporation,

                                                 21               Defendants.
                                                 22 EVEREST NATIONAL INSURANCE
                                                    COMPANY, a Delaware corporation,
                                                 23
                                                                 Counterclaimant,
                                                 24
                                                           v.
                                                 25
                                                    CENTEX HOMES, a Nevada general
                                                 26 partnership,

                                                 27               Counterdefendant.
                                                 28
                                                      Case 2:17-cv-02407-JAD-VCF Document 286
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                                                  1 EVEREST NATIONAL INSURANCE
                                                    COMPANY, a Delaware corporation,
                                                  2
                                                              Cross-Claimant,
                                                  3
                                                         v.
                                                  4
                                                    INTERSTATE FIRE & CASUALTY
                                                  5 COMPANY, an Illinois corporation,

                                                  6                 Cross-Plaintiff.
                                                  7 ST. PAUL FIRE AND MARINE
                                                    INSURANCE COMPANY,
                                                  8
                                                                Third-Party Plaintiffs,
                                                  9
                                                          v.
                                                 10
                                                    UNDERWRITERS AT LLOYDS LONDON;
                                                 11 PROBUILDERS SPECIALTY INSURANCE
PAYNE & FEARS LLP




                                                    COMPANY, RRG; NEW HAMPSHIRE
                                                 12 INSURANCE COMPANY; FIRST
               6385 S. RAINBOW BLVD, SUITE 220




                                                    SPECIALTY INSURANCE COMPANY;
                  LAS VEGAS, NEVADA 89118




                                                 13 ARCH SPECIALTY INSURANCE
                      ATTORNEYS AT LAW




                                                    COMPANY; IRONSHORE SPECIALTY
                         (702) 851-0300




                                                 14 INSURANCE COMPANY; ROCKHILL
                                                    INSURANCE COMPANY; and FIREMAN’S
                                                 15 FUND INSURANCE COMPANY,

                                                 16                 Third-Party Plaintiffs.
                                                 17

                                                 18         IT IS HEREBY STIPULATED by and between Plaintiff CENTEX HOMES (“Plaintiff”)
                                                 19 and Defendant LEXINGTON INSURANCE COMPANY (“Defendant”), through their respective

                                                 20 attorneys of record, that Plaintiff's Complaint filed against Defendant shall be dismissed with

                                                 21 prejudice pursuant to FRCP 41(a)(2). Plaintiff and Defendant shall bear their own attorneys’ fees

                                                 22 and costs.

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                                                  1   Dated: November 4, 2020                               Dated: November 4, 2020
                                                  2   PAYNE & FEARS LLP                                     KAUFMAN DOLOWICH VOLUCK LLP
                                                  3
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                                                 10                                                         Attorneys for Defendant
                                                                                                            LEXINGTON INSURANCE COMPANY
                                                 11
PAYNE & FEARS LLP




                                                 12                                                ORDER
               6385 S. RAINBOW BLVD, SUITE 220
                  LAS VEGAS, NEVADA 89118




                                                 13         IT IS SO ORDERED that Plaintiff's claims against Defendant Lexington Insurance
                      ATTORNEYS AT LAW




                                                             Based on the parties' stipulation [ECF No. 285] and good cause appearing, IT IS
                         (702) 851-0300




                                                 14 Company
                                                    HEREBYin      the instantthat
                                                                ORDERED       matter, Case No.
                                                                                  Plaintiff's     2:17-cv-02407-JAD-VCF,
                                                                                              claims                        are dismissed
                                                                                                     against Defendant Lexington  Insurancewith prejudice.
                                                                                                                                            Company   are
                                                    DISMISSED with prejudice, each side to bear its own fees and costs.
                                                 15 All parties shall bear their own attorneys’ fees and costs.

                                                 16 DATED:_________________
                                                                                                               _________________________________
                                                 17                                                            U.S. District Judge Jennifer A. Dorsey
                                                                                                               Dated: November 5, 2020
                                                 18
                                                                                                   ______________________________________
                                                 19                                                JENNIFER A. DORSEY
                                                                                                   UNITED STATES DISTRICT COURT JUDGE
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